
LEWIS, J.
We have for review Harris v. State, 764 So.2d 942 (Fla. 4th DCA 2000). We have jurisdiction. See art. V, § 3(b)(4), Fla. Const.
We partially quash the decision of the district court below only as it relates to the petitioner’s sentencing under the Prison Releasee Reoffender Act, and remand for reconsideration upon application of our decisions in Grant v. State, 770 So.2d 655 (Fla.2000); State v. Cotton, 769 So.2d 345 (Fla.2000); McKnight v. State, 769 So.2d 1039 (Fla.2000); and Ellis v. State, 762 So.2d 912 (Fla.2000). We approve the determination of the Fourth District with regard to Harris’s conviction.
It is so ordered.
WELLS, C.J., and SHAW, HARDING, ANSTEAD, and PARIENTE, JJ., concur.
QUINCE, J., dissents.
